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                        IN THE UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF MISSISSIPPI
                                  EASTERN DIVISION


UNITED STATES OF AMERICA


VS.                                                                 CASE NO. 4:03CR2LN-018


DOUGLAS WRIGHT MARTIN


                                            ORDER

               Before the court for consideration is the motion of Douglas Wright Martin for early

termination of probation. After reviewing the motion, the court concludes that the motion should

be granted.

               Accordingly, IT IS HEREBY ORDERED that the motion for early termination of

probation is granted.

               ORDERED this the 6th day of April, 2006.



                                                    /S/ TOM S. LEE
                                                    UNITED STATES DISTRICT JUDGE
